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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                      8:10CR108
                              )
          v.                  )
                              )
DANIEL HORVATH,               )                       ORDER
                              )
                Defendant.    )
______________________________)


          This matter is before the Court on defendant’s motion

to continue sentencing (Filing No. 83).          The Court finds the

motion should be granted.      Accordingly,

          IT IS ORDERED that sentencing is rescheduled for:

                Friday, April 1, 2011, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

          DATED this 16th day of February, 2011.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
